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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )       Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                        )
                                              )
               Defendant.                     )


DEFENDANT PAUL J. MANAFORT, JR.’S MOTION FOR LEAVE TO FILE UNDER
 SEAL HIS MOTION FOR RECONSIDERATION OF CONDITIONS OF RELEASE

       Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves for leave

to file under seal his motion for reconsideration of the conditions of release set forth in

the Court’s Order dated December 15, 2017. (Dkt. # 95). The Defendant states that

despite the general policy that public access to judicial proceedings and judicial records is

important to the proper functioning of our justice system, there is good cause and

compelling reasons in this instance for the motion for reconsideration to not be disclosed.

       More specifically, the Defendant seeks the Court’s reconsideration of certain

financial conditions of release that are set forth in the December 15, 2017 Order. To

provide the Court with a complete picture of the Defendant’s finances and those of the

non-party sureties, and specifically, their ability to satisfy the financial requirements set

forth in the Order, an analysis of sensitive financial information is undertaken and

focuses on the net asset statements that were previously provided to the Court, and which

were previously permitted to be filed under seal. (Dkt. # 65). This information, and the

analysis and discussion thereof, is included in the motion for reconsideration for the sole

purpose of allowing the Court to perform its proper function – to evaluate the adequacy



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and appropriateness of the defendant’s conditions of release under 18 U.S.C Section 3142

and determine the least restrictive conditions that will reasonably assure the Defendant’s

appearance as required. See United States v. Xulum, 84 F.3d 441, 443 (D.C. Cir. 1996)

(per curiam).

       The discussion of the sealed financial statements is included to evaluate the

sureties’ capacity to make good on their guarantees pursuant to the additional financial

requirements set forth in the December 15, 2017 Order. Accordingly, the financial

analysis includes a discussion of the private information of the Defendant and non-parties

that is not available publicly, including the names of financial institutions where deposits

are located and details about the types and amounts of assets and liabilities.          The

Defendant’s previous motion for modification and the Court’s Order have sufficiently

advised the public, but not created unwarranted risk to the Defendant, his wife and his

daughter, regarding their finances. The Court has noted this case is subject to substantial

publicity and media coverage, and the identification and analysis of these financial assets

and liabilities should continue to be protected.

       WHEREFORE, Defendant Manafort moves for leave to file under seal his motion

for reconsideration of the conditions of release.

Dated: January 16, 2017                              Respectfully submitted,


                                                     ______________________________
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